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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

BENJAMIN WHITE,                              )
                                             )
         Plaintiff,                          )
                                             )
vs.                                          )       Case No. 2:17-cv-02476-JWL-TJJ
                                             )
STELLAR RECOVERY, INC.,                      )
                                             )
         Defendant.                          )



                               NOTICE OF DISMISSAL

         COMES NOW Thomas A. Addleman, and Motions this Honorable Court to

dismiss the case without prejudice, each party to be responsible for their own costs.



                                             Respectfully submitted,

                                             CREDIT LAW CENTER

                                             By: /s/ Thomas A. Addleman
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of April 2018, the

foregoing was filed with the Clerk of the Court using the CM/ECF system, which sends

notice to all counsel of record.


                                                    /s/ Thomas A. Addleman
                                                    Thomas A. Addleman
                                                    Attorney for Plaintiff
